         Case 0:18-mj-06342-PMH Document 4 Entered on FLSD Docket 07/25/2018 Page 1 of 1
                                     COURT M INUTES/ORDER
                        U nited States M agistrate Judge Patrick M .Hunt
                                                                                   Date: 07/25/18 Time:11:00a.m.
Defendant:Brandon Martin (J)                    J#: 18950-104 Case#: 18-6342-81unt
A USA: Francis Viam ontes                                  Attorney:
Violation: Conspiracyto Com m itM oney Laundering
proceeding:RRc/Bond Hearing/possible RemovalHearing CJAAppt:
Bond/p'rD Held: eyes             o        Recommended Bond:                 P X pp       -       '     W                       '
Bond setat:                                                           co-signed by:
r'
 r'l Surrenderand/ordonotobtain passports/traveldocs                          Language'
                                                                                      .
         ReporttoPTSas directed/or       x'saweek/month by                    Disposition'
                                                                                         .
         Phone:      x'saweek/monthinperson                                                          '
     r
         Random urine testing by PretrialServices
         Treatm ent as deem ed necessary
     r Refrain from excessive use ofalcohol
     f- Participate in m entalhealth assessm ent& treatm ent
C'
 f-'
   l Maintainorseekfull-timeemployment/education
 r No contactwithvictims/witnesses
     r No firearm s
     r Notto encum berproperty
 r-
  rl Maynotvisittransportationestablishments
  r HomeConfinement/ElectronicMonitoringand/or
         Curfew             pm to         am ,paid by
     r
         Allow ances:M edicalneeds,courtappearances,attorney visits,
         religious,em ploym ent
 r-
  r-l TraveIextendedto:
 CC'I Other:
NEr COURT APPEARANCE         oat :              Tim e:             Judge:                            Place:

ReportRECounsel'
               .                 3    /;            .'
                                                     row
PTD/BondHearing:
Prelim/ArraignorRem oval: C / /
                    .        -                           .V J
Status Conference RE:
                The moti on to continue to permitthe defendantto hire counseli    s GRANTED.The time from today through the
Check if        rescheduled date isexcluded from the deadline fortrialas com ptlted underthe Speedy TrialAd,since the endsof
Applicable: r justi
                  ceservedbygrantingthi
                                      scontinuanceoutweightheinterestsofthedefendantandthepubli
                                                                                              cins eedytrial.
                *
DA.
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  R. //.                ..T <
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                                                                             Timeincourt.                        '.
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